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                       IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE SOUTHERN DISTRICT OF INDIANA
                                INDIANAPOLIS DIVISION

                                                           )
In re:                                                     )        Chapter 11
                                                           )
AEARO TECHNOLOGIES LLC,                                    )        Case No. 22-02890-JJG-11
                                                           )
                          Debtor.                          )
                                                           )

                        DEBTORS’ MOTION FOR
        (I) AN EXPEDITED HEARING ON DEBTORS’ THIRD MOTION
      TO EXTEND THEIR EXCLUSIVE PERIODS TO FILE AND SOLICIT
 ACCEPTANCES OF A CHAPTER 11 PLAN AND (II) GRANTING RELATED RELIEF

         The above-captioned debtor and debtor in possession (together with its debtor affiliates,

the “Debtors”)1 respectfully state as follows in support of this motion (the “Motion”):2

                                               Relief Requested

         1.      The Debtors seek entry of an order, substantially in the form attached hereto as

Exhibit A, (a) scheduling an expedited hearing on the Bridge Order relief requested in the

Debtors’ Third Motion to Extend Their Exclusive Periods to File and Solicit Acceptances of a

Chapter 11 Plan (the “Exclusivity Extension Motion”); and (b) granting related relief.




1   The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
    number, are set forth in the Order (I) Directing Joint Administration of Chapter 11 Cases and (II) Granting
    Related Relief, entered by the Court for each consolidated Debtor [Docket Nos. 37–42]. The location of the
    Debtors’ service address for the purposes of these chapter 11 cases is:                 7911 Zionsville Road,
    Indianapolis, Indiana 46268.
2   Detailed descriptions of the Debtors, their business, and the facts and circumstances surrounding these chapter 11
    cases are set forth in the Declaration of John R. Castellano in Support of the Debtors’ Chapter 11 Petitions and
    First Day Motions (the “First Day Declaration”) [Docket No. 11], filed on July 26, 2022. Capitalized terms used
    but not immediately defined have the meanings given to them elsewhere in this Motion, the Exclusivity Extension
    Motion (as defined herein), or in the First Day Declaration, as applicable.
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                                      Jurisdiction and Venue

       2.      The United States Bankruptcy Court for the Southern District of Indiana

(the “Court”) has jurisdiction over this matter pursuant to 28 U.S.C. § 1334 and the Standing Order

of Reference from the United States District Court for the Southern District of Indiana,

dated July 11, 1984. This is a core proceeding pursuant to 28 U.S.C. § 157. The Debtors confirm

their consent to the entry of a final order by the Court in connection with this Motion to the extent

that it is later determined that the Court, absent consent of the parties, cannot enter final orders or

judgments in connection herewith consistent with Article III of the United States Constitution.

       3.      Venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409.

       4.      The bases for the relief requested herein are rule 9006(c) of the Federal Rules of

Bankruptcy Procedure (the “Bankruptcy Rules”), and rule B-9006-1(a) of the Local Rules of the

United States Bankruptcy Court for the Southern District of Indiana (the “Local Rules”).

                                          Basis for Relief

       5.      The Debtors have contemporaneously herewith filed the Exclusivity Extension

Motion. By the Exclusivity Extension Motion the Debtors seek entry of an order, extending by

approximately four months the periods during which the Debtors have the exclusive right to file a

chapter 11 plan through and including July 31, 2023 (the “Filing Exclusivity Period”), and to

solicit votes thereon through and including September 29, 2023 (the “Solicitation Exclusivity

Period,” and together with the Filing Exclusivity Period, collectively, the “Exclusivity Periods”),

and granting related relief.

       6.      The Debtors seek a hearing, on an expedited basis, to consider the Bridge Order

relief requested in the Exclusivity Extension Motion, all as further set forth in the Exclusivity

Extension Motion. Bankruptcy Rule 9006(c) and Local Rule B-9006-1(a) permit the expedited

consideration of motions for cause.


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       7.      Given the Court’s limited available hearing days in March and April, and to avoid

a contested hearing in advance of the hearing on the motions to dismiss scheduled for

April 19, 2023, by this Motion, the Debtors request entry of a 45-day bridge order (the “Bridge

Order”), extending the Filing Exclusivity Period through May 15, 2023 and the Solicitation

Exclusivity Period through July 14, 2023. The Bridge Order would allow the balance of the relief

requested in the Exclusivity Extension Motion to be heard at the May 10, 2023 omnibus hearing.

The Debtors have requested the consent of the official committees and other parties in interest to

the Bridge Order but have not yet obtained their consent.

       8.      The Debtors submit that, in light of the urgent relief requested in the Exclusivity

Extension Motion, and to accommodate the Court’s scheduling constraints, cause exists for an

expedited hearing on the Bridge Order relief requested in the Exclusivity Extension Motion.

Accordingly, consistent with Local Rule B-9006-1(a), the Debtors request that, to the extent that

an objection to Bridge Order relief requested in the Exclusivity Extension Motion is properly filed,

the Court hear the Bridge Order relief requested in the Exclusivity Extension Motion on an

expedited basis during a hearing on March 20, 2023, at 1:00 p.m. (prevailing Eastern Time), or as

soon thereafter as the Court believes is appropriate, and set an objection deadline of

March 17, 2023, at 4:00 p.m. (prevailing Eastern Time) and a reply deadline of March 19, 2023,

at 4:00 p.m. (prevailing Eastern Time) or such other date affixed by the Court.

                                              Notice

       9.      The Debtors will provide notice of this Motion to the following parties or their

respective counsel: (a) the United States Trustee for Region 10, Attn: Harrison Strauss;

(b) the CAE Committee; (c) the Respirator Committee; (d) counsel for non-Debtor 3M; (e) the

United States Attorney’s Office for the Southern District of Indiana; (f) the Internal Revenue




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Service; (g) the office of the attorneys general for the states in which the Debtors operate or face

Tort Claims;3 (a) the United States Department of Veterans Affairs; (b) the United States

Department of Defense; (c) the Securities and Exchange Commission; and (k) any party that has

requested notice pursuant to Bankruptcy Rule 2002. The Debtors submit that, in light of the nature

of the relief requested, no other or further notice need be given.

                                               No Prior Request

        10.      No prior request for the relief sought in this Motion has been made to this or any

other court.

                              [Remainder of Page Intentionally Left Blank]




3   As defined in the Debtors’ Motion for Entry of an Order (I) Authorizing the Debtors to File One List of the Top
    Law Firms Representing the Largest Numbers of Tort Plaintiffs Asserting Claims Against the Debtors,
    (II) Authorizing the Debtors to File One Consolidated Creditor Matrix, (III) Authorizing the Listing of Addresses
    of Counsel for Tort Claimants in the Creditor Matrix in Lieu of Claimants’ Addresses, (IV) Authorizing the
    Debtors to Redact Personally Identifiable Information, (V) Approving Certain Notice Procedures for Tort
    Claimants, (VI) Approving the Form and Manner of Notice of the Commencement of these Chapter 11 Cases, and
    (VII) Granting Related Relief, filed on July 26, 2022 [Docket No. 17].




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         WHEREFORE, the Debtors respectfully request that the Court enter the Order,

 substantially in the form attached hereto as Exhibit A, granting the relief requested herein and

 such other relief as the Court deems appropriate under the circumstance.

Indianapolis, Indiana
Dated: February 28, 2023

/s/ Jeffrey A. Hokanson
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